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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                NO. 4:04CR00291-10 JLH

GWENDOLYN MCCULLOUGH                                                              DEFENDANT

                                            ORDER

       The Court conducted a hearing on Thursday, January 19, 2012, to address the pending

motion to revoke supervised release. Assistant United States Attorney Angela Jegley, standing in

for First Assistant United States Attorney Jane Duke, was present for the government. The

defendant appeared in person with her attorney Assistant Federal Public Defender Justin Eisele.

United States Probation Officer Jason Stewart was also present.

       Upon inquiry from the Court, the defendant did not contest the allegations contained in the

motion to revoke. Following statements from counsel and the defendant, the Court found that the

motion to revoke should be denied, and instead determined that defendant’s current conditions of

supervised release should be modified. Document #937.

       IT IS THEREFORE ORDERED that defendant Gwendolyn McCullough’s conditions of

supervised release are hereby modified to include the following:

       •      The defendant must participate in and successfully complete an in-patient substance
              abuse treatment program at the Wilbur D. Mills Treatment Center in Searcy,
              Arkansas, under the direction of the United States Probation Office for a period of
              time to be determined.

       •      Upon successful completion of the in-patient substance abuse treatment program,
              defendant will enter a chemical-free living program as directed by the United States
              Probation Office.

       •      Following successful completion of the in-patient substance abuse treatment program
              and chemical-free living program, defendant will be placed in a residential reentry
              facility for a period of 90 days as directed by the probation officer.
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       In the event the defendant is found to be in violation of her conditions of supervised release,

or is terminated from either the in-patient substance abuse treatment program or the chemical-free

living program, the government is directed to submit the appropriate motion and the Court will

conduct a hearing.

       The defendant will remain in the custody of the United States Marshal until space becomes

available at the designated in-patient substance abuse treatment facility.

       All other conditions of supervised release remain in full force and effect as previously

imposed.

       IT IS SO ORDERED this 19th day of January, 2012.


                                                      ___________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
